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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

   IN THE MATTER OF BULLY 1                     *       CIVIL ACTION NO. 6:22-cv-00566
   (SWITZERLAND) GMBH, AS                       *       c/w 6:21-cv-03527-RRS-CBW, c/w 2:21-
   OWNER AND NOBLE DRILLING                     *       cv-03993-RRS-CBW, c/w 2:21-cv-03994-
   (U.S.) LLC, AS OWNER PRO HAC                 *       RRS-PJH
   VICE, OF THE GLOBETROTTER II                 *
                                                *       JUDGE ROBERT R. SUMMERHAYS
                                                *
                                                *       MAGISTRATE JUDGE CAROL B.
                                                *       WHITEHURST


                STIPULATED DISMISSAL OF CLAIMANT BARRY SKATES

         COMES NOW, the parties, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and hereby files

  this Stipulated Dismissal of Claimant Barry Skates. Specifically, this dismissal applies to Barry

  Skates only and all other Claimants remain.

  Fed. R. Civ. P. 41(a)(1)(A)(ii) reads:

         (a) Voluntary Dismissal.
         (1) By the Claimant.
         (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2 and 66 and any
         applicable federal statute, the claimant may dismiss an action without a court order by
         filing:

                (ii) a stipulation of dismissal signed by all parties who have appeared.

         See Fed. R. Civ. P. 41(a)(1)(A)(ii).

         All parties who have appeared in this matter stipulate to the dismissal of Barry Skates

  and have all signed this Stipulated Dismissal without prejudice.




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  Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing pleading was served on counsel of

  record by electronic means, including the CM/ECF system, 30th day of August, 2022.



                                                      /s/ Kyle Findley
                                                      Kyle Findley




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